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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:06CR19
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )               TENTATIVE FINDINGS
                                             )
LETICIA BARRIENTOS,                          )
                                             )
              Defendant.                     )


      The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant‘s objections thereto (Filing No. 137). The government has adopted the PSR.

(Filing No. 130.) See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

      The Defendant objects to the following portions of the PSR:

1.    ¶¶ 16, 24 (government’s version of the offense) - the Court is not at liberty to change

      the government’s version of the offense. The objection is denied.

2.    ¶¶ 26, 33 and 66 (gun enhancement pursuant to U.S.S.G. § 2D1.1(b)(1) - the plea

      agreement is silent as to this issue. The objection will be heard at sentencing. The

      government bears the burden of proof by a preponderance of the evidence.

      Also, the Defendant requests a downward departure. The motion will be heard at

sentencing.
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       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 137) are denied as to ¶¶ 16 and 24 (government’s version of the offense), and the

objections to ¶¶ 26, 33 and 66 (gun enhancement) will be heard at sentencing;

       2.     The Defendant’s motion for downward departure (Filing No. 137) will be heard

at sentencing;

       3.     Otherwise the Court’s tentative findings are that the Presentence Investigation

Report is correct in all respects;

       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 12th day of October, 2006.

                                          BY THE COURT:

                                          S/ Laurie Smith Camp
                                          United States District Judge


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